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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 1:22-cr-00089-APM-1
                                              :
NANCY BARRON,                                 :
                                              :
                                              :
                       Defendant.             :

               UNOPPOSED MOTION TO CONTINUE STATUS HEARING

       Defendant, through undersigned counsel John M. Pierce, moves the Court, with no

opposition from the United States, to continue this status hearing from December 7, 2022, at 8:45

a.m., to a date convenient with the Court and parties. Defendant further, with no opposition from

the United States, moves the court to toll the Speedy Trial Act, 18 U.S.C. § 3161, et seq., for the

time between December 7 and the date convenient with the Court and parties.

   1. On November 3, 2022, Honorable Judge Mehta ordered the parties to appear for a status

       hearing on December 7, 2022, at 8:45 a.m.

   2. During the week of November 28, 2022, undersigned counsel, John M. Pierce, was

       informed that he requires emergency oral surgery that was immediately scheduled for

       December 6, 2022.

   3. Mr. Pierce’s surgeon requires him to undergo at least one full day of recovery following

       the surgery.

   4. Because Mr. Pierce will be recovering from surgery and will therefore be unavailable to

       attend the status conference on December 7, 2022, Defendant respectfully requests that

       this Court continue the status hearing to a date convenient with the Court and parties.
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5. Defendant waives, and the government does not oppose the waiver, the time between

   December 7 and the next court date, should the Court grant the continuance request. The

   defendant and government believe it would serve the interests of justice, as well as

   conserve the resources of the Court.



   A proposed Order is attached.

   WHEREFORE, the defendant respectfully moves the Court to grant said relief.



   Date: December 3, 2022                               Respectfully Submitted,

                                                        /s/ John M. Pierce
                                                        John M. Pierce
                                                        21550 Oxnard Street
                                                        3rd Floor, PMB #172
                                                        Woodland Hills, CA 91367
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                                                        Attorney for Defendant
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                                  CERTIFICATE OF SERVICE
        I hereby certify that, on December 3, 2022, this motion and the accompany declaration
was filed via the Court’s electronic filing system, which constitutes service upon all counsel of
record.
                                                                     /s/ John M. Pierce
                                                                     John M. Pierce
